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IN THE UNITED sTATEs DISTRICT cOURT ""-EDlj---_._D.C.
FOR THE WESTERN DISTRICT oF TENNESSEE

EASTERN DIvIsIoN 05 AUG -8 PH I=SO

AGNES M. BRYSON

 

Plaintiff,

vs. Civil Action No. l:O§-lO§O-T/An

H M P, LLC d/b/a DAYS INN OF
BROWNSVILLE,

Defendant.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
WEDNESDAYl JUNE 14, 2006, at 9:30 a.m. in the Federal Courtroom,
Room 432 Fourth Floor, U. S. Courthouse, in Jackson, TN. A joint
pre-trial order must be submitted to the court by FRIDAYc
JUNE 9l 2006. All discovery must be completed before that date.

Counselr and any party proceeding p;Q §e, MUST confer and
attempt to prepare a joint pre-trial order Which covers the items
set forth below; If a joint pre-trial order cannot be agreed_upon,
the attorneys must notify the court at least lO days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying' the court, the attorney‘ for each. party' or a jparty
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the

proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature

and amounts of damages;

4. specific facts that may be stipulated (possible

sources of these agreed facts are the pleadings,

discovery, or admission of counsel);

5. contested issues of fact;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to

be offered in evidence by the parties, and to the extent

possible, a stipulation as to admissibility;

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8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party'proceeding p;g,§e, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and. define the triable issues, expedite the trial, and. save
expense. At the time of the conference, counsel and any party
proceeding p;g §§ vdll report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference"? 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth.Circuit); see also Fed. R. Civ. P. l6.

 

IF AN ATTORNEY OR A PARTY PROCEEDING BBQ §§ FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.
ENTERED AS DIRECTED,
THOMAS M. GOULD, CLERK

BY ‘ C/i¢{¢¢¢a/
Deputy lerk

DATE= g/ &)/OS

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01090 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

